       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 1 of 55




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.

                      DECLARATION OF HARRI HURSTI

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct:



       1. My name is Harri Hursti. I am over the age of 21 and competent to give this

testimony. The facts stated in this declaration are based on my personal

knowledge, unless stated otherwise.

       2. This declaration supplements my prior declarations (Docs. 680-1, 800-2,

809-3, 860-1, 877, 923-2, and 942 at 7) and I stand by the statements in those

declarations.




                                           1
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 2 of 55




      3.     This declaration is written to explain and support the Coalition

Plaintiffs’ request for relief to address uncounted valid hand marked votes and the

Court’s Order to provide specific recommendations (Doc. 964 at 141).

      4.     In my opinion, it is quite feasible to make immediate changes to

increase the accuracy in vote detection and tabulation of hand marked paper ballots

scanned by the Dominion ICC scanner. As I had expected based upon a review of

the system documentation, programming and database building are not required for

the simple changes that I recommend. This has now been verified by my testing in

Cherokee County.

      5.     My recommendation for substantial near-term improvement in vote

detection and vote counting is for each county to change the Dominion ICC

scanner Brightness setting to a value of 25, and maintain the Contrast setting value

of 4, which appears to be the vendor default value. This change may be made by

the voting system administrator in each county before scanning a batch of ballots.

This recommendation assumes that counties are using the same type of ICC

scanner (Canon DR-G2140) and same type of ballot paper stock provided by

Cherokee County for my test.

      6.     The Dominion County Users Guide 5.5A distributed to the counties

contains the instructions for changing these values by county administrators.

                                         2
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 3 of 55




(Exhibit 1). Based on observations in Cherokee County, this action would require

less than 5 minutes of staff time, including a brief test. I will explain below the

basis for the recommendation.

      Background Regarding My Work With Georgia’s Scanner Settings

      7.      As stated in my Declaration of August 24, 2020 (809-3 ¶52), I

initially heard about the failure of the Georgia’s Dominion system to detect and

count all legitimate votes in early June 2020 from Marilyn Marks and Jeanne

Dufort of Coalition for Good Governance.

      8.     Ms. Marks also informed me of such vote counting problems she had

observed in the Habersham County June 9 recount. Such problems reportedly

occurred because of marginal marks not recognized as votes by the system. After

these repeated reports of uncounted votes on hand marked scanned ballots in

multiple counties, I began to gather information on potential sources of the

scanning problem.

      9.      Ms. Marks arranged a video call with Richard Barron of Fulton

County, Dr. Richard DeMillo, Ms. Marks and me on June 27, 2020. The purpose

of the call was for Dr. DeMillo and me to offer assistance to Fulton County to

analyze the cause of the uncounted votes experienced in the June 9 primary and

mitigate the uncounted vote issue with more appropriate scanner settings. (Dr.

                                           3
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 4 of 55




DeMillo has considerable expertise in scanning technology, particularly given his

executive experience at Hewlett-Packard.) Dr. DeMillo and I suggested to Mr.

Barron that we work as a team during Fulton’s upcoming preparations and Logic

and Accuracy Testing for the August 11 runoff to test various combinations of

settings to optimize vote counting accuracy. Our offers to help were declined by

Fulton.

      10.    On July 1, 2020 Ms. Marks forwarded a copy of Exhibit 2, which is a

document describing Dominion scanner configuration produced by Henry County

in response to an Open Records Act request for such documents supplied to the

county by the Secretary of State. Exhibit 2 details a number of scanner setting

changes that can be made by the local election official.

      11.     In July and August, Coalition Plaintiffs requested through a Rule 34

inspection that Fulton County permit me to conduct several hours of testing on the

ICC scanners to improve the vote count accuracy. This culminated in a discovery

dispute (Doc. 839) which has not been resolved. Therefore, I have been unable to

conduct the full range of testing that is necessary to recommend optimal settings

on all available parameters, such as thresholds, dpi, grayscale, gamma, brightness,

contrast, and other technical options. Such comprehensive testing is not only for

the purpose of finding the best settings for capturing votes, but to verify that the

                                           4
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 5 of 55




new settings will not produce unintended adverse effects like reduced speed, false

positives or decrease in ballot timing mark recognition reliability.

      12.    Although I have been unable to test and verify the optimal settings,

the recommendations described in this declaration will measurably improve the

accuracy in vote detection and tabulation of hand marked paper ballots scanned by

the Dominion ICC scanner and can and should be made immediately. These

recommendations are based on the testing I conducted using November 3, 2020

Cherokee County test ballots scanned in Cherokee County Election Office on

September 29 and October 20 and my independent research. I will explain the

details of my Cherokee County scanning testing below.

      Scanner Settings Adjustment Feasibility

      13.    I demonstrated through the Cherokee testing the feasibility of

immediate improvement in scanning and tabulation accuracy for ballots scanned

by the ICC. My findings are contrary to Dr. Eric Coomer’s and Defendants’

testimony and declarations, which implied that any settings changes to create

scanning improvements required long lead times and database programming prior

to an election. In fact, I demonstrated that database or programming changes are

not necessary to make near-term significant improvements.




                                          5
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 6 of 55




      14.    Dr. Coomer stated in his testimony of September 11, 2020 that,

“Whether a mark is characterized as a ballot vote, an ambiguous mark, or not a

vote is wholly dependent on the threshold settings of the lower and upper threshold

limits as well as the percentage fill of the target detected by the system.”

(Transcript p.72 lines 21-25)

      15.    Dr. Coomer’s statement implies that improvements to vote detection

and counting accuracy can only be achieved by changing the threshold settings

while building the database. Instead, my testing proved that a simple change to the

Brightness setting to 25 from the apparent default value of 90 recommended by

Dominion will result in significantly better vote detection accuracy in Georgia.

Scanner manufacturers use 100 as the factory default, with intention that all their

scanners produce similar results with factory default settings. Dominion’s

recommended defaults differ from factory default for the Canon G-DR2140.

      16.    Dr. Coomer states in his declaration of August 28, 2020 (Doc 834-1)

that, “Scanner threshold settings for the Dominion Democracy Suite that Georgia

purchased are not set on each individual scanners. Instead, scanner threshold

settings are set when the voting database is built. Users are not able to change the

threshold settings without being trained to do so, and with the appropriate

application access privileges.” His assertion should not be read to mean that

                                           6
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 7 of 55




threshold settings are the correct or only settings that can be changed to improve

vote detection, or that counties have no convenient access to make setting

adjustments to do so.

      17.    It is my understanding that, after vote counting issues related to

marginal marks were exposed in the June 9 primary, the State Election Board

required adjustment of the threshold settings, which was explained in the Court

hearing on September 11, 2020. The new threshold settings were applied to the

November 3, 2020 election configuration, including in the election project for

Cherokee County. Those new threshold settings would have been utilized during

my testing at Cherokee.

      18.    My testing demonstrated that the State’s recent adjustment of

threshold settings was insufficient to detect and count all reasonably detectable

legitimate vote marks.

      19.    As I describe below, changing certain scanner settings is always

available to any county voting system administrator with administrative

credentials, using simple instructions in the user manual. Attached as Exhibit 1 is

a copy of two pages of instructions from the Georgia County Users Guide 5.5A

which I photographed in Cherokee County on October 20, 2020. The software

providing the ability to change the scanner settings on Exhibit 1 page 2 is not

                                          7
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 8 of 55




software used in defining the database. The readily adjustable settings listed on the

display screen that can have an impact upon image quality include brightness,

contrast, gamma, moire reduction, deskew, and color dropout among others. Canon

scanner manuals reveal a wide range of additional settings, which are not displayed

for user changes in the Dominion interface to Canon scanner. The default values

and their effect on ballot scanning are not disclosed in the Dominion reference

material I have reviewed. These currently hidden settings affect the scanner

operations.

      20.     Inspecting the configuration and conducting testing in Cherokee

reinforced my previous belief, after a review of publicly available materials, that

such scanner setting adjustments may be made by county election staff at any point

in the election. My Declaration of August 24, 2020 explains the fact that

“important image processing are done in scanner software and before election

software threshold values are applied to the image.” (Doc. 809-3 at 25).

      21.     It is my understanding that there are no state rules or requirements that

prohibit the counties from making changes to these settings.

      22.     I strongly recommend that, after the interim setting changes

recommended in this declaration are implemented for near-term improvements,

optimal settings should as soon as possible thereafter be determined and further

                                           8
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 9 of 55




ordered to be implemented as uniform mandated settings with state permission

required before any county level changes are thereafter allowed. Otherwise,

counties could effectively unintentionally create differing vote detection standards,

where not all voters’ ballots are tabulated in the same manner, worsening the

problem that now exists with different standards between manual and on screen

adjudication processes by the Vote Review Panels.

      23.    My recommendation is subject to my understanding that Dominion is

using the same certified ICC scanner model in all counties, and all counties are

using the same Dominion approved paper stock for ballots scanned on the ICC

scanners, and that the Cherokee testing environment was the standard operational

election setup used in all counties.

      Changing the Brightness Setting

      24.    To make the recommended change to the Brightness setting (that is,

from 90 to 25), County voting system administrators can reference pages 125-126

of their Dominion Georgia County Users Guide 5.5A Section 4.4.7. These pages

include diagrams showing how to adjust the brightness setting to the recommended

value of 25. (Exhibit 2). Such a setting change can be made and tested in less than

5 minutes in my opinion based on my observation of Cherokee County.

      Cherokee County Scanning and Testing

                                          9
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 10 of 55




      25.    Along with Marilyn Marks and Aileen Nakamura of Coalition for

Good Governance, I made two visits to the Cherokee County elections facility for

the purpose of conducting some basic scanning testing. The first visit was on

September 29, 2020 and the second visit was on October 20, 2020. The second

visit was permitted for two hours by Court Order (Doc.977).

      26.    I arrived at the Cherokee County elections facility on October 20 at

5:40pm and testing session began at approximately 5:55 pm. In attendance were

also Ms. Ann Brumbaugh, attorney for Cherokee County; two members of the

Cherokee County Board of Elections (whose names I failed to record); Mr. Brad

Skelton of Dominion; Mr. Bryan Jacoutot, an attorney representing the Secretary

of State; Ms. Kim Stancil, Cherokee County Director of Elections; Ms. Jennifer

Akins, Assistant Election Director of Cherokee County. Ms. Nakamura recorded

video of the session.

      27.    At the beginning of the session, Dominion regional manager, Brad

Skelton insisted repeatedly that Brightness and Contrast settings are set “in

programming” and cannot be changed at the county level. Ms. Brumbaugh and Ms.

Marks questioned him repeatedly about his statement that the settings were done in

programming. Ms. Marks reminded him that, to the contrary, the user’s manual




                                         10
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 11 of 55




information obtained from Henry County showed that counties could make such

settings changes.

      28.    I had downloaded the Dominion ICC user manual ( Democracy

Suite® ImageCast® Central User Guide” ) from the Secretary of State of

Colorado’s website, which may be found at

https://www.sos.state.co.us/pubs/elections/VotingSystems/DVS-

DemocracySuite511/documentation/UG-ICC-UserGuide-5-11-CO.pdf.                I had

also reread Exhibit 2, which is the directions for preparing the scanner for an

election and changing scanner settings supplied to Coalition for Good Governance

by Henry County. (This document is discussed in my prior declaration, Doc. 809-

3 ¶ 59). Both documents indicated that the settings can be changed at any time and

are not part of the programming or the database.

      29.    Ms. Akins permitted us to review the Dominion Georgia County User

Manual 5.5-A which was by the workstation in a binder. Within a few minutes I

was able to find the correct pages from the index explaining how to make

adjustments to Brightness and Contrast settings. The settings listed on page 126 of

the manual (Exhibit 1 page 2) do not require an election project database change or

programming change, contrary to what was indicated by Mr. Skelton and implied

by Dr. Coomer. In fact, the setting may be changed any time and even every ballot

                                         11
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 12 of 55




batch may be scanned with different settings by an operator. The software used to

change these settings is not used to create the database.

      30.    In preparation for the on-site testing, I had prepared a computer

simulation of 40,000 images of ballot-type mark variations to estimate what the

optimal ICC settings would be. Based on the simulation I expected that the optimal

setting would be approximately -89% brightness and +62% contrast.

      31.    I found the settings on the Cherokee Dominion ICC scanner were

displayed in the dialogue box as “90” for Brightness, (providing an effect of -10%

brightness), and “4” for Contrast. Those values are the same as those shown in the

diagram in Exhibit 1 page 2.

      32.    From the ballot vote-mark detection point of view alone, -99%

brightness provided the optimal reading of the vote targets, but as an unintended

consequence, it enhanced printed extraneous marks on the ballots. There

extraneous marks were printshop production aid landmarks and the Dominion

copyright text. These markings are outside of the ballot timing marks area and

when enhanced, confused the software interpretation of the timing marks on the

borders of the printed ballot. (Exhibit 6) This assumption is based on the pre-scan

feature of the software which offers additional information how the software is

analyzing the ballot.

                                         12
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 13 of 55




       33.   During the scanning testing, I found that numeric Brightness setting

25 providing an effect of -75% yielded most of the benefits without any

discernable negative impact on reliability of ballot detection while providing

improvements in vote detection. No other settings were changed from the Georgia

default settings.

       34.    We scanned the test ballot deck generating about 400 front and back

scans with this Brightness setting of 25 (without changing other settings) without a

single error message.

       The Test Deck

       35.    The test deck consisted 43 paper ballots for the November 3, 2020

election obtained from Cherokee County Elections Office. Marilyn Marks and I

marked the ballots creating the test deck prior to the test session. As a testing

control, we marked each ballot with a one control mark along with standard and

non-standard markings. A control mark is well-marked target area using a black

pen.

       36.    Ms. Marks and I made other marks on the test ballots to simulate

marks that voters may make with many marks deliberately intended to test

detection boundaries. This included markings with approximately 20 different

kinds of writing instruments--different ink colors, types of pen and different widths

                                          13
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 14 of 55




of the tip. We made “X marks,” “check marks,” slashes, circles around the target

areas, highlighted the candidate name, and other standard and non-standard

markings, and used differing pressure on the paper ballot. We also made markings

with different alignments in relationship to the center of the oval target area and

purposefully created overvotes by making hesitation dots in some already marked

contests.

      37.    The test deck was scanned multiple times in different orientations.

“Orientation” in this case means head-first vs tail-first and front-side up and down.

      38.    The operator, Jennifer Akins, did not save every scanning result,

because part of the intention of the test was to test reliability of the scanning

operation. No images were rejected based on the content of the ballot image. It was

not necessary to retain every scan iteration. The baseline images for the entire deck

scanned with the default settings were preserved, as were images in the deck run

with the recommended Brightness setting of 25.

      39.    A total of 513 ballot images, including both sides and the election

software interpretation of the ballot, (with many vote markings on each page) were

saved for the analysis.

      Results




                                           14
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 15 of 55




      40.    Changing the Brightness setting to 25 resulted in additional vote

marks being detected and accepted as votes on 38 out of 43 test ballots. An

example of detecting votes using the changed Brightness setting only is shown in

Exhibit 3. Using Test Ballot #55 marked with a black pen, the recommended

Brightness significantly increased vote detection from having 20 blank races on the

current default settings to having only 4 blank races.

      41.    On 6 ballots certain vote mark anomalies, which were previously

ignored, were now detected. The test deck contained possible overvotes which

previously had not been detected, and improved setting allowed the election

software to detect those.

      42.    No false positive marks were detected and counted as votes.

      43.    Exhibit 5-1 shows how the scanner still removes highlighter marker

marks, but now the scanner image processing software makes both the vote target

oval and the candidate text to appear as bold. This illustrates how the scanner is not

taking pictures of the ballots but processes the images with its own hidden logic,

which has not been made available to me to evaluate. Similar effects were seen

also with yellow highlight, but not as prominently.

      44.    Even with the brightness changed to 25, some marks failed to be

detected, as should be expected in an actual election. I would not expect that the

                                         15
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 16 of 55




Dominion ICC scanner system could be set to accurately detect and analyze every

possible mark as long as the images are reduced to have bi-level data only (i.e.,

black and white). Even with color or gray-scale scanning, some human review of

marginally marked ballots will always be necessary. I recommend that in recounts

or very close races, that ballots be manually examined prior scanning, in order to

inspect for such marginal marks in specific races. It is my understanding that

Georgia does not require this safety measure.

      45.    But after such a quality improvement, review can be done more

reliably from the images without need to observe the physical paper ballot in most

cases, if results are not close. Auditing election results, including Risk-Limiting

Audits will always require visual inspection of the physical ballots.

      Findings Causing Concern

      46.     On multiple test ballots, the scanning captured markings outside of

the oval, but markings inside of the oval disappeared, and no vote was recorded.

The root cause for why software appeared to be erasing markings from inside of

the oval should be investigated. This phenomena is not limited to red color

markings, while it exhibits itself more prominently with red markings. (Exhibit 4)

      47.     My testing revealed similar integrity and accuracy issues with

unmodified settings as was discovered with the ICP (precinct scanner). At times,

                                          16
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 17 of 55




ballots scanned and rescanned in different orientations produce different results.

Changing the brightness setting improved reliability but did not eliminate the issue

of different orientation generating different results. For example, in Exhibit 3, the

test ballot #55 was falsely producing from 18 to 20 blank races (no vote detection)

with the vendor settings and with improved settings 4 to 9 blank races when the

same ballot was rescanned in different orientations. But with both settings, the

ballot was interpreted inconsistently on each scan. Given that all markings on this

sample ballot were done with black or blue pens, the brightness change

demonstrates the benefits even when recommended pens are being used. Exhibit 3.

However, the root cause of this effect should be investigated and addressed by

Dominion.

      48.     Dr. Coomer testified that an increase in the target oval’s line width

would cause the oval vote target to register as a vote (Transcript Sept. 11 p 125-

126) TranHowever, my testing demonstrates that it is not the case. Ovals with

significant increase of widths, and therefore black marking, still did not register as

votes. Exhibit 5-1

      49.     As I expected, the enhanced Brightness settings are still failing to

detect some non-standard but legitimate votes, despite the significant improvement

the change created.

                                          17
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 18 of 55




      Other Impacts of Setting Changes

      50.    I anticipate that increasing the vote detection through the Brightness

setting will significantly reduce the workload of the Vote Review Panels because

the number of ballot marks required to be adjudicated should be reduced. This

work reduction will be true for both counties adjudicating by manually reviewing

the original ballots and those using the on-screen adjudication of ballot images.

      51.    Another benefit of the increased vote detection through the

recommended scanner setting changes will be that the results of vote counting

processes in counties that use manual adjudication will be more consistent with the

less accurate method of vote counting by counties using on-screen adjudication.

The manual method should be more accurate in that if any marginal marks are

detected by the scanner, the entire ballot is duplicated manually with all marks

inspected and duplicated by the panel. Panels using only on-screen adjudication

from low quality images can easily miss marks that are not flagged for review or

those that are not detected by the scanner.




      Conclusions




                                         18
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 19 of 55




      52.    The state’s narrowing of the dual threshold values did not adequately

address the problem of the system’s failure to count certain legitimate vote marks.

      53.    Setting the brightness to 25 significantly increases non-standard mark

recognition without negative impact on reliability or speed of the scanning.

      54.    The scanner setting can be changed at the county level in less than 5

minutes.

      55.    I recommend that counties be instructed to immediately begin

scanning hand marked ballots using a Brightness level of 25 and Contrast level of

4 on the ICC scanner, and that the other default ICC settings be maintained at

present.

      56.    If there are concerns that some ballots already scanned may have a

less accurate vote detection process, and if for some reason these ballots cannot

simply be rescanned using the updated settings, then I recommend that races with

results within 1% be rescanned on the improved setting prior to certification.

      57.    Alternatively, in the event that county officials cannot undertake this

brightness scanning adjustment in time for the November election, I recommend

that uncounted votes in close races be mitigated using the following option. For

any race within a 1% difference of the hand marked ballot count between the two

top candidates, the ballots should be rescanned using the new settings for those

                                         19
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 20 of 55




specific races with undervote detection turned on to detect potential uncounted

votes in very close races.

      58.    Future study to find optimal values using the total combination of

available local settings of brightness contrast and gamma should be conducted and

settings tested for future elections before databases are built. Other settings for

grayscale, threshold, and dpi should be tested and optimized simultaneously. All

settings are subject to the exact type of scanner being used and the type of paper

used as ballot paper.

      59.    Testing should be conducted to determine if extraneous markings on

the ballot (such as the trademark) can be removed in the scanning process to use

more effective settings to further increase the vote recognition without negative

impact on reliability. (Exhibit 6)

      60.    Although these scanner settings (such as Brightness and Contrast) are

easy to change, they are not easy to monitor by election officials or authorized

tabulation observers. I therefore further recommend that the settings be

prominently displayed as a matter of election integrity and security, because they

are so easily changed and can have a major impact on tabulation accuracy. An

unnecessary risk to election integrity and security is present when election staff




                                          20
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 21 of 55




operating the scanner is unable to easily to verify the settings during the scanning

process.

      Executed this 26th day of October, 2020

                                       __________________________

                                       Harri Hursti




                                         21
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 22 of 55




                                                                    E
                                                                    X
                                                                    H
                                                                     I
                                                                    B
                                                                     I
                                                                    T



                                                                    1
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 23 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 24 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 25 of 55




                                                                    E
                                                                    X
                                                                    H
                                                                     I
                                                                    B
                                                                     I
                                                                    T



                                                                    2
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 26 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 27 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 28 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 29 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 30 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 31 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 32 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 33 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 34 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 35 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 36 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 37 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 38 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 39 of 55




                                                                    E
                                                                    X
                                                                    H
                                                                     I
                                                                    B
                                                                     I
                                                                    T



                                                                    3
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 40 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 41 of 55
      Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 42 of 55




Exhibit 3

The same test ballot (Exhibit 3-pages 1-2) scanned 14 times, primarily black pen

markings, produced the following results:

Unmodified settings, contests falsely recognized as blank : 19
Unmodified settings, contests falsely recognized as blank : 19
Enhanced settings, contest falsely recognized as blank : 6
Enhanced settings, contest falsely recognized as blank : 5
Enhanced settings, contest falsely recognized as blank : 8
Enhanced settings, contest falsely recognized as blank : 9
Enhanced settings, contest falsely recognized as blank : 5
Enhanced settings, contest falsely recognized as blank : 6
Enhanced settings, contest falsely recognized as blank : 4
Enhanced settings, contest falsely recognized as blank : 5
Unmodified settings, contests falsely recognized as blank : 20
Unmodified settings, contests falsely recognized as blank : 18
Unmodified settings, contests falsely recognized as blank : 19
Unmodified settings, contests falsely recognized as blank : 18
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 43 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 44 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 45 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 46 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 47 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 48 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 49 of 55




                                                                    E
                                                                    X
                                                                    H
                                                                     I
                                                                    B
                                                                     I
                                                                    T



                                                                    4
     Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 50 of 55




Exhibit 4
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 51 of 55




                                                                    E
                                                                    X
                                                                    H
                                                                     I
                                                                    B
                                                                     I
                                                                    T



                                                                    5
       Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 52 of 55




 Exhibit 5




Exhibit 5-1
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 53 of 55
Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 54 of 55




                                                                    E
                                                                    X
                                                                    H
                                                                     I
                                                                    B
                                                                     I
                                                                    T



                                                                    6
     Case 1:17-cv-02989-AT Document 990-1 Filed 10/26/20 Page 55 of 55




Exhibit 6
